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   IN THE DISTRICT COURT OF THE UNITED STATES

                  For the Western District of New York
                                                               APRIL 2014 GRAND JURY
                                                               (Impaneled April 15, 2014)
THE UNITED STATES OF AMERICA

              -vs-                                             SUPERSEDING
                                                               INDICTMENT
                                                               14-CR-6136-FPG
COLIN MONTAGUE a/k/a Uncle a/k/a C                             Violations:
  (Count 1),
                                                               Title 21, United States Code,
CHARLTON OSBOURNE a/k/a Big Man
                                                               Section 846;
  (Count 1),                                                   Title 18, United States Code, Sections
ANTOINE SHANNON                                                924(c)(1)(A) and 2
  (Count 1),
COLLIN THOMAS                                                  (2 Counts and Forfeiture Allegation)
  (Counts 1 and 2),
CLIVE HAMILTON
  (Count 1),
ALYSSA SPRAGUE
  (Count 1),
JARA JENKINS CARMICHAEL a/k/a Nikki
  (Count 1)

                                        COUNT 1

                                 (Narcotics Conspiracy)

                             The Grand Jury Charges That:

       From in or about 2008, the exact date being unknown to the Grand Jury, through and

including on or about July 1, 2014, in the Western District of New York, and elsewhere, the

defendants, COLIN MONTAGUE a/k/a Uncle a/k/a C, CHARLTON OSBOURNE a/k/a Big

Man, ANTOINE SHANNON, COLLIN THOMAS, CLIVE HAMILTON, ALYSSA


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SPRAGUE, and JARA JENKINS CARMICHAEL a/k/a Nikki , did knowingly, willfully and

unlawfully combine, conspire and agree together and with others, known and unknown to the

Grand Jury, to commit the following offenses, that is, to possess with intent to distribute, and to

distribute, five (5) kilograms or more of a mixture and substance containing a detectable amount of

cocaine, a Schedule II controlled substance, and 280 grams or more of a mixture and substance

containing a detectable amount of cocaine base, a Schedule II controlled substance, in violation of

Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A).

       All in violation of Title 21, United States Code, Section 846.



                                             COUNT 2

                             (Possession of Firearms in Furtherance
                                   of Drug Trafficking Crime)

                            The Grand Jury Further Charges That:

       On or about June 26, 2014, at 369 Estall Road, in Rochester, New York, in the Western

District of New York, the defendant, COLLIN THOMAS, in furtherance of a drug trafficking

crime for which he may be prosecuted in a court of the United States, that is, a violation of Title 21,

United States Code, Section 846, as set forth in Count 1 of this Superseding Indictment, the

allegations of which are incorporated herein by reference, did knowingly and unlawfully possess

firearms, to wit, a Remington 870, 12 gauge shotgun, bearing serial number C548076M, and a J C

Higgins Model 20, 12 gauge shotgun, bearing no serial number.

       All in violation of Title 18, United States Code, Sections 924(c)(1)(A) and 2.




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                                  FORFEITURE ALLEGATION

                                   The Grand Jury Alleges That:

       Upon conviction of the controlled substance offense alleged in Count 1 of this Superseding

Indictment, the defendant, COLIN MONTAGUE a/k/a Uncle a/k/a C, shall forfeit to the United

States pursuant Title 21, United States Code, Sections 853(a)(1) and (a)(2), any property used, or

intended to be used, in any manner or part, to commit, or to facilitate the commission of said

violation, and any and all property, and interest therein, constituting and/or derived from any

proceeds obtained, directly or indirectly, as a result of the violation, including, but not limited to

the following:

             A. MONETARY AMOUNT

             The sum of ten million dollars ($10,000,000.00) United States Currency, which

amount represents the proceeds the defendant obtained, directly or indirectly, as a result of the

offense described in Count 1 of this Indictment. In the event that sum is not available, then a

money judgment for the same amount, which amount represents the total amount of

proceeds that were obtained, directly or indirectly, as a result of the offense described in

Count 1 will be entered against the defendant.



             B. SUBSTITUTE ASSETS

       If the property described above, as a result of any act or omission of the defendant:

       (1)       cannot be located upon the exercise of due diligence;

       (2)       has been transferred or sold to, or deposited with, a third person;

       (3)       has been placed beyond the jurisdiction of the Court;

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       (4)     has been substantially diminished in value; or

       (5)     has been commingled with other property which cannot be divided without

               difficulty;

the United States shall be entitled to forfeiture of substitute property pursuant to Title 21, United

States Code, Section 853(p), including but not limited to:

       1.      The premises and real property with its buildings, improvements, fixtures,
               attachments and easements, located at 3166 Culver Road, Rochester, New York as
               more particularly described in a certain deed recorded in the Monroe County
               Clerk=s Office at Liber 11326 of Deeds at Page 589, on November 12, 2013;

       2.      The premises and real property with its buildings, improvements, fixtures,
               attachments and easements, located at 80 Canton Street, Rochester, New York as
               more particularly described in a certain deed recorded in the Monroe County
               Clerk=s Office at Liber 11300 of Deeds at Page 513, on September 9, 2013;

       3.      The premises and real property with its buildings, improvements, fixtures,
               attachments and easements, located at 11 Foxglove Lane, West Henrietta, New
               York as more particularly described in a certain deed recorded in the Monroe
               County Clerk=s Office at Liber 11252 of Deeds at Page 320, on May 14, 2013;

       4.      The premises and real property with its buildings, improvements, fixtures,
               attachments and easements, located at 239 Selye Terrace, Rochester, New York as
               more particularly described in a certain deed recorded in the Monroe County
               Clerk=s Office at Liber 11348 of Deeds at Page 194, on January 10, 2014;

       5.      The premises and real property with its buildings, improvements, fixtures,
               attachments and easements, located at 88 Magee Avenue, Rochester, New York as
               more particularly described in a certain deed recorded in the Monroe County
               Clerk=s Office at Liber 11352 of Deeds at Page 392, on January 24, 2014;

       6.      The premises and real property with its buildings, improvements, fixtures,
               attachments and easements, located at 256 Clark Avenue, Rochester, New York as
               more particularly described in a certain deed recorded in the Monroe County
               Clerk=s Office at Liber 10536 of Deeds at Page 421, on October 26, 2007;

       7.      The premises and real property with its buildings, improvements, fixtures,
               attachments and easements, located at 207 Kenwood Avenue, Rochester, New
               York as more particularly described in a certain deed recorded in the Monroe
               County Clerk=s Office at Liber 11056 of Deeds at Page 692, on October 31, 2011;


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8.    The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 449-451 Clay Avenue, Rochester, New
      York as more particularly described in a certain deed recorded in the Monroe
      County Clerk=s Office at Liber 11012 of Deeds at Page 467, on June 28, 2011;

9.    The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 175 Stonewood Avenue, Rochester, New
      York as more particularly described in a certain deed recorded in the Monroe
      County Clerk=s Office at Liber 10999 of Deeds at Page 298, on May 23, 2011;

10.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 61 Marlborough Road, Rochester, New
      York as more particularly described in a certain deed recorded in the Monroe
      County Clerk=s Office at Liber 11328 of Deeds at Page 409, on November 15,
      2013;

11.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 107 Evergreen Street, Rochester, New York
      as more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11317 of Deeds at Page 38, on October 17, 2013;

12.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 11 Copeland Street, Rochester, New York as
      more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11317 of Deeds at Page 38, on October 17, 2013;

13.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 929 Jay Street, Rochester, New York as
      more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11317 of Deeds at Page 38, on October 17, 2013;

14.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 409 Hague Street, Rochester, New York as
      more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11317 of Deeds at Page 45, on October 17, 2013;

15.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 432 Hayward Avenue, Rochester, New York
      as more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11301 of Deeds at Page 380, on September 10, 2013;

16.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 138 Rahway Road, Rochester, New York as
      more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11280 of Deeds at Page 350, on July 25, 2013;

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17.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 20 Aurora Street, Rochester, New York as
      more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11324 of Deeds at Page 422, on November 6, 2013;

18.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 124 Gray Street, Rochester, New York as
      more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11260 of Deeds at Page 580, on June 5, 2013;

19.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 91 Cameron, Rochester, New York as more
      particularly described in a certain deed recorded in the Monroe County Clerk=s
      Office at Liber 11260 of Deeds at Page 646, on June 5, 2013;

20.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 333 Raines Park, Rochester, New York as
      more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11260 of Deeds at Page 695, on June 5, 2013;

21.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 350 Clay Avenue, Rochester, New York as
      more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11260 of Deeds at Page 695, on June 5, 2013;

22.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 4 Pulaski Street, Rochester, New York as
      more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11260 of Deeds at Page 695, on June 5, 2013;

23.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 87 Sunset Street, Rochester, New York as
      more particularly described in a certain deed recorded in the Monroe County
      Clerk=s Office at Liber 11260 of Deeds at Page 695, on June 5, 2013;

24.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 3932 Orchard Road, Cleveland, Ohio as
      more particularly described in a certain deed recorded in the Cuyahoga County
      Office of Fiscal Officer under AFN #201307120285, on July 12, 2013;

25.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 3142 W. 88th Street, Cleveland, Ohio as
      more particularly described in a certain deed recorded in the Cuyahoga County
      Office of Fiscal Officer under AFN #201304220592, on April 22, 2013;


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26.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 3227 W. 92nd Street, Cleveland, Ohio as
      more particularly described in a certain deed recorded in the Cuyahoga County
      Office of Fiscal Officer under AFN #201304220592, on April 22, 2013;

27.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 2785 E. 126th Street, Cleveland, Ohio as
      more particularly described in a certain deed recorded in the Cuyahoga County
      Office of Fiscal Officer under AFN #201304220592, on April 22, 2013;


28.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 1197 E. 170th Street, Cleveland, Ohio as
      more particularly described in a certain deed recorded in the Cuyahoga County
      Office of Fiscal Officer under AFN #201304220592, on April 22, 2013;

29.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 3120 Saratoga Road, Cleveland, Ohio as
      more particularly described in a certain deed recorded in the Cuyahoga County
      Office of Fiscal Officer under AFN #201304220592, on April 22, 2013;

30.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 802 Wayside Avenue, Cleveland, Ohio as
      more particularly described in a certain deed recorded in the Cuyahoga County
      Office of Fiscal Officer under AFN #201304220593, on April 22, 2013;

31.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 3131 E. 99th Street, Cleveland, Ohio as more
      particularly described in a certain deed recorded in the Cuyahoga County Office of
      Fiscal Officer under AFN #201304220593, on April 22, 2013;

32.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 9902 Macon Avenue, Cleveland, Ohio as
      more particularly described in a certain deed recorded in the Cuyahoga County
      Office of Fiscal Officer under AFN #201304220593, on April 22, 2013;

33.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 1510 E. 174th Street, Cleveland, Ohio as
      more particularly described in a certain deed recorded in the Cuyahoga County
      Office of Fiscal Officer under AFN #201304220593, on April 22, 2013;

34.   The premises and real property with its buildings, improvements, fixtures,
      attachments and easements, located at 44 Austin Street, Rochester, New York as
      more particularly described in a certain deed recorded in the Monroe County
      Clerk’s Office at Liber 11051 of Deeds at Page 393, on October 13, 2011; and

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     35.    The premises and real property with its buildings, improvements, fixtures,
            attachments and easements, located at 18 Woodford Street, Rochester, New York
            as more particularly described in a certain deed recorded in the Monroe County
            Clerk’s Office at Liber 10534 of Deeds at Page 0113, on October 22, 2007.

     All pursuant to Title 21, United States Code, Sections 853(a)(1), 853(a)(2) and 853(p).



     DATED: Rochester, New York, September 30, 2014.


                                                WILLIAM J. HOCHUL, JR.
                                                United States Attorney



                                         BY:    s/EVERARDO A. RODRIGUEZ
                                                Assistant U.S. Attorney
                                                United States Attorney=s Office
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A TRUE BILL:


s/FOREPERSON




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